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I

go aug armco ut pab.teq:) asua;;o aq:; A'[auxeu 'seqe:;g pa:),;un arn _:;o 1
nunoooe ut paquoaso1d eq Kem eq qoth 10; amr1o 6utxor;;e11 6n1p
a 01 uorqe{a1 pue 6ut1np '£TButMoux pue ‘£TTn;TTTM 'ATTn;MeTun
' 'IUPPUSJSP 3111 ‘NOHHOA 'Imitf 'S`ISW“\SSTS PUY=‘ XIOX MSN 50
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pu€ 'lt)(€)tbe ’zta Suorzses 'SDOO Seuezs peurun 'tz atlrm)

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4 ~ poe 'asuads;p poe _"a:mq;;r:;s}:p 'a:m'.),:)ta;nueux p;p, '£'[6u'_cMou){ pue

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smear_c_g aug q:u;M am;q:>aqaq aot'[oa kch >{10; MaN 9 s1_: eq
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=asusaap 30 ALNnoo = " ' '
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: . ~ . '89 ':1<:114l
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39 adv u0 paxaoux 3-1901;;0 pu9 1-1901;;0 '9

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'Moux 1 '1¢1901;;0_q11m'su0119819Au00.u0 pas9g ~p .

°qg adv 01 s1191$dn quan 3-1901;;0 pu9

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' 'p91901pu1
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‘ qou saop 11 'asn90 91q9q01d 6u11911$u0map go asod1nd p911m11
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p9191ue`3_1901;;Q pu9 111301;;0 f191;9a1aq1"

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Page 3 0f_4.
41 .

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, 6u0m9:{1a&0; eq1 u1 1q619 u191d u1 paA:asqo
' 111901;;0.'1u9m119d9 eq1 9p1s1n0 mozg

 

C`ase 1;07-cr500986-WHP Document 27-2 Filed 05/29/2008 Page 4 of 4 '

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